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 1 SHEPPARD MULLIN RICHTER & HAMPTON LLP
     A Limited Liability Partnership
 2   Including Professional Corporations
   GARY L. HALLING, Cal. Bar No. 66087
 3 JAMES L. MCGINNIS, Cal. Bar No. 95788
   MICHAEL W. SCARBOROUGH, Cal. Bar No. 203524
 4 Four Embarcadero Center, 17th Floor
   San Francisco, California 94111-4106
 5 Telephone: 415-434-9100
   Facsimile:    415-434-3947
 6 E-mail:       ghalling@sheppardmullin.com
                 jmcginnis@sheppardmullin.com
 7               mscarborough@sheppardmullin.com

 8 HELEN C. ECKERT, Cal. Bar No. 240531
   333 South Hope Street, 43rd Floor
 9 Los Angeles, California 90071-1448
   Telephone: 213-620-1780
10 Facsimile:     213-620-1398
   E-mail:        heckert@sheppardmullin.com
11
   Attorneys for Defendants
12 SAMSUNG SDI CO., LTD.,
   SAMSUNG SDI AMERICA, INC.,
13 SAMSUNG SDI (MALAYSIA) SDN. BHD.,
   SAMSUNG SDI MEXICO S.A. DE C.V.,
14 SAMSUNG SDI BRASIL LTDA.,
   SHENZHEN SAMSUNG SDI CO., LTD. and
15 TIANJIN SAMSUNG SDI CO., LTD.

16
                                  UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18
                                      SAN FRANCISCO DIVISION
19

20 IN RE: CATHODE RAY TUBE (CRT)                      Case No. 07-5944 SC
   ANTITRUST LITIGATION
21                                                    MDL No. 1917

22 This Document Relates to:
                                                      DECLARATION OF JAMES L.
23 Alfred H. Siegel, as Trustee of the Circuit City   MCGINNIS IN SUPPORT OF SDI
   Stores, Inc. Liquidating Trust v. Hitachi, Ltd.,   DEFENDANTS’ REPLY IN SUPPORT OF
24 et al., No. 11-cv-05502;                           THEIR MOTION FOR PARTIAL
                                                      SUMMARY JUDGMENT FOR LACK OF
25 CompuCom Systems, Inc. v. Hitachi, Ltd., et        STANDING AS TO DIRECT ACTION
   al., No. 11-cv-06396;                              PLAINTIFFS’ SHERMAN ACT DAMAGE
26                                                    CLAIMS BASED ON CRT PRODUCT
   Costco Wholesale Corporation v. Hitachi,           PURCHASES FROM SAMSUNG
27 Ltd., et al., No. 11-cv-06397;                     ELECTRONICS
28 Dell Inc. and Dell Products L.P., v. Hitachi,

     SMRH:436030296.1                                   MCGINNIS DECLARATION IN SUPPORT OF SDI’S MSJ REPLY
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 1 Ltd., et al, No. 13-cv-02171;

 2 Electrograph Systems, Inc. and Electrograph
   Technologies Corp., v. Hitachi, Ltd., et al.,
 3 No. 11-cv-01656;

 4 Interbond Corporation of America v. Hitachi,
   Ltd., et al., No. 11-cv-06275;
 5
   Office Depot, Inc. v. Hitachi Ltd., et al., No.
 6 11-cv-06276;

 7 P.C. Richard & Son Long Island Corp., Marta
   Coooperative of Am., Inc., ABC Appliance,
 8 Inc. v. Hitachi, Ltd., et al., No. 12-cv-02648;

 9 Schultze Agency Services, LLC, on behalf of
   Tweeter Opco, LLC and Tweeter Newco, LLC
10 v. Hitachi, Ltd., et al., No. 12-cv-02649;

11 Sears, Roebuck and Co. and Kmart Corp. v.
   Chunghwa Picture Tubes, Ltd., et al., No. 11-
12 cv-05514;

13 Target Corp. v. Chunghwa Picture Tubes,
   Ltd., et al., No. 11-cv-05514;
14
   Tech Data Corp and Tech Data Product
15 Management, Inc., v. Hitachi, Ltd., et al., No.
   13-cv-00157;
16
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17 Ltd., et al., No. 14-02510..

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 1           I, James L. McGinnis, declare as follows:

 2           1.         I am a partner at the law firm of Sheppard Mullin Richter & Hampton LLP, counsel

 3 of record for defendants Defendants Samsung SDI America, Inc.; Samsung SDI Co., Ltd.;

 4 Samsung SDI (Malaysia) SDN. Bhd.; Samsung SDI Mexico S.A. De C.V.; Samsung SDI Brasil

 5 Ltda.; Shenzen Samsung SDI Co., Ltd.; and Tianjin Samsung SDI Co., Ltd. (collectively, “SDI”).

 6 I submit this declaration in support of SDI’s Reply Brief in Support of Their Motion for Partial

 7 Summary Judgment for Lack of Standing as to Direct Action Plaintiffs’ Sherman Act Damage

 8 Claims Based on CRT Product Purchases from Samsung Electronics (“Reply”). I have personal

 9 knowledge of the facts herein set forth and, if called as a witness, I could and would competently

10 testify thereto.

11           2.         Attached hereto as Exhibit A is a true and correct copy of the Amici Curiae Brief of

12 Interested Retailers and the American Antitrust Institute in Support of Appellants’ Petition for

13 Rehearing En Banc in In re ATM Antitrust Fee Litigation, Case No. 10-17354, before the Ninth

14 Circuit, filed on August 6, 2012.

15           3.         Attached hereto as Exhibit B is a true and correct copy of the Order issued by the

16 Ninth Circuit denying appellants’ petition for rehearing en banc in In re ATM Antitrust Fee

17 Litigation, Case No. 10-17354, dated March 13, 2013.

18           4.         Attached hereto as Exhibit C is a true and correct copy of excerpts of the European

19 Commission, DG Competition’s Provisional, Non-Confidential Decision in Case AT.39437, TV

20 and Computer Monitor Tubes, which was released on December 23, 2014.

21           5.         Attached hereto as Exhibit D is a true and correct copy of excerpts of Samsung

22 Electronics Co., Ltd.’s (“SEC”) 2010 Annual Report, which was downloaded from SEC’s website,

23 available at http://www.samsung.com/us/aboutsamsung/ir/financialinformation/annualreport/

24 downloads/2010/SECAR2010_Eng_Final.pdf, and last accessed on January 21, 2015.

25           6.         Attached hereto as Exhibit E is a true and correct copy of excerpts of SEC’s 2011

26 Annual Report, which was downloaded from SEC’s website, available at

27 http://www.samsung.com/us/aboutsamsung/ir/financialinformation/annualreport/downloads/2011/

28 SECAR2011_Eng_Final.pdf, and last accessed on January 21, 2015.
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 1           7.         Attached hereto as Exhibit F is a true and correct copy of excerpts of SEC’s 2012

 2 Annual Report, which was downloaded from SEC’s website,

 3 http://www.samsung.com/us/aboutsamsung/investor_relations/financial_information/downloads/2

 4 013/SECAR2012_Eng_Final.pdf, and last accessed on January 21, 2015.

 5           8.         The Special Master’s Order Re Samsung SEC/SEA’s Motion for Protective Order

 6 Barring DAPs’ Rule 30(b)(6) Depositions of SEC/SEA, issued December 12, 2014 (Dkt. No.

 7 3197), set a January 20, 2015 deadline for the deposition, which has now passed without a

 8 deposition.

 9

10                      I declare under penalty of perjury under the laws of the United States of America

11 that the foregoing is true and correct.

12                      Executed this 23rd day of January 2015 in San Francisco, California.

13

14
                                                                 /s/ James L. McGinnis
15                                                                      James L. McGinnis

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                                Docket No. 10-17354
 _________________________________________________________________

                                       In the
                      United States Court of Appeals
                                      for the
                                 Ninth Circuit
                        _____________________________

    PAMELA BRENNAN, TERRY CRAYTON, and DARLA MARTINEZ,
          on behalf of themselves and all others similarly situated,

                                                            Plaintiffs-Appellants,
                                        v.

  CONCORD EFS, INC., FIRST DATA CORP., BANK OF AMERICA, N.A.,
  JPMORGAN CHASE BANK, N.A., BANK ONE, N.A., CITIBANK, N.A.,
    CITIBANK (WEST), FSB, SUNTRUST BANKS, INC., WACHOVIA
CORPORATION, WELLS FARGO BANK, N.A., SERVUS FINANCIAL CORP.

                                                           Defendants-Appellees.
                        _____________________________

                        Appeal from Final Judgment of the
                            United States District Court
                       For the Northern District of California
          In re ATM Fee Antitrust Litigation, Case No. 3:04-cv-026776-CRB


   AMICI CURIAE BRIEF OF INTERESTED RETAILERS AND THE
 AMERICAN ANTITRUST INSTITUTE IN SUPPORT OF APPELLANTS’
            PETITION FOR REHEARING EN BANC


Jonathan J. Ross
SUSMAN GODFREY LLP
1000 Louisiana, Suite 5100
Houston, TX 77002
(713) 651-9366
Attorneys for Amici Curiae


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                      CORPORATE DISCLOSURE STATEMENTS

        1.         Pursuant to Fed. R. App. P. 26.1, Alfred H. Siegel, as Trustee of The

Circuit City Stores, Inc. Liquidating Trust states as follows: Alfred H. Siegel, as

Trustee of The Circuit City Stores, Inc. Liquidating Trust does not have a parent

corporation and no publicly held company owns 10% or more of the amicus’ stock.

        2.         Pursuant to Fed. R. App. P. 26.1, P.C. Richard & Son Long Island

Corporation states as follows: P.C. Richard & Son Long Island Corporation does

not have a parent corporation and no publicly held company owns 10% or more of

the amicus’ stock.

        3.         Pursuant to Fed. R. App. P. 26.1, Electrograph Systems, Inc. states as

follows: Electrograph Systems, Inc. is a wholly-owned subsidiary of Electrograph

Technologies Corp. and no publicly held company owns 10% or more of the

amicus’ stock.

        4.         Pursuant to Fed. R. App. P. 26.1, the American Antitrust Institute

states that it is a nonprofit corporation and, as such, no entity has any ownership

interest in it.

        5.         Pursuant to Federal Rule of Appellate Procedure 26.1, Interested

Retailers, Best Buy Co., Inc., Best Buy Purchasing LLC, Best Buy Enterprise

Services, Inc., Best Buy Stores, L.P., Bestbuy.com, L.L.C., and Magnolia Hi-Fi,

Inc. through their undersigned counsel, hereby certify as follows: Best Buy Co.,


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Inc. does not have a parent corporation and no publicly held company owns 10%

or more of its stock. Best Buy Enterprise Services, Inc., Best Buy Purchasing

LLC, Best Buy Stores, L.P., Bestbuy.com, L.L.C., and Magnolia Hi-Fi, Inc. are

wholly-owned by Best Buy Co., Inc.

        6.         Pursuant to Fed. R. App. P. 26.1, Target Corporation states as follows:

Target Corporation has no parent corporation, and no publicly held corporation

owns 10 percent or more of its stock.

        7.         Pursuant to Fed. R. App. P. 26.1, Sears, Roebuck and Co. states as

follows: Sears, Roebuck and Co.’s parent corporation is Sears Holdings

Corporation. Sears Holdings Corporation is a publicly held corporation that owns

10 percent or more of Sears, Roebuck and Co.’s stock.

        8.         Pursuant to Fed. R. App. P. 26.1, Kmart Corporation states as follows:

Kmart Corporation’s indirect parent corporations are Sears Holdings Corporation

and Kmart Holding Corporation, and its direct parent corporation is Kmart

Management Corporation.              Sears Holdings Corporation is a publicly held

corporation that owns 10 percent or more of Kmart Corporation’s stock.

        9.         Pursuant to Fed. R. App. P. 26.1, Old Comp Inc. states as follows: Old

Comp Inc.’s parent corporation is Special Equity, LLC, and no publicly held

corporation owns 10 percent or more of its stock.




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        10.        Pursuant to Fed. R. App. P. 26.1, Good Guys, Inc. states as follows:

Good Guys, Inc.’s parent corporation is Old Comp Inc., and no publicly held

corporation owns 10 percent or more of its stock.

        11.        Pursuant to Fed. R. App. P. 26.1, RadioShack Corporation states as

follows: RadioShack Corporation has no parent corporation, and no publicly held

corporation owns 10 percent or more of its stock.




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       INTRODUCTION AND STATEMENT OF INTEREST OF AMICI

        Amici Curiae are a group of retailers (“Retailers”) who have been in the past

and are currently involved in antitrust litigation in the United States.1 Retailers

have faced several large antitrust violations over the years from cartels and other

conspiracies to fix the prices of either the goods Retailers sell or the key

components of those goods. As the first purchaser of goods outside of these

conspiracies, Retailers often serve as the “private attorneys general” contemplated

by the antitrust laws of the United States.2

        The American Antitrust Institute (AAI) also joins this brief as amicus curiae.

The AAI is an independent, non-profit education, research, and advocacy

organization whose mission is to sustain the vitality of the antitrust laws which

would be undermined by the Panel’s application of the direct purchaser rule.3


1
   The specific retailers joining this brief are Sears, Roebuck and Co., Target
Corp., K-Mart Corp., RadioShack Corporation, Old Comp Inc. (f/k/a CompUSA),
Good Guys, Inc., Electrograph Systems, Inc., P.C. Richard & Son Long Island
Corp., Best Buy Co., Inc., Best Buy Purchasing LLC., Best Buy Enterprise
Services, Inc., Best Buy Stores, L.P., Bestbuy.com, L.L.C., Magnolia Hi-Fi, Inc.,
and Alfred H. Siegel, as Trustee of The Circuit City Stores Liquidating Trust.
2
  Retailers are currently serving in that role in two cases pending in this Circuit, In
re TFT LCD (Flat Panel) Antitrust Litigation and In re Cathode Ray Tube (CRT)
Antitrust Litigation.
3
  The Board of Directors has approved this filing for AAI; views of individual
members of AAI’s Advisory Board may differ from AAI’s positions. Certain
members of AAI’s Advisory Board are at law firms that are the co-lead counsel for
plaintiffs in this matter, but those members played no role in the Directors’
deliberations or the drafting of the brief. Pursuant to Fed. R. App. P. 29(c)(5),

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        Amici file this brief in support of Appellant’s Petition for Rehearing en Banc

to assist the Court in determining whether the Panel erred in three of its

conclusions: (1) that plaintiffs are not direct purchasers where they are the first

purchaser outside of the conspiracy, (2) that the co-conspirator exception to the

direct purchaser rule of Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977), should

be limited in its application only to circumstances when the conspirators conspire

to fix the price paid by the antitrust plaintiff (as opposed to the upstream price one

conspirator charges another), and (3) that the “no realistic possibility that direct

purchasers will sue” doctrine enunciated by the Ninth Circuit in Freeman v. San

Diego Ass’n of Realtors, 322 F.3d 1133 (2003), is limited solely to situations

where a defendant in the conspiracy owns or controls (as narrowly defined by the

Panel) the direct purchaser which sold the product to the antitrust plaintiff.

        All three of these conclusions fail to recognize that the touchstone question

is which entity is the first in the chain of distribution to have the ability and

incentive to bring an antitrust action. Instead, the Panel focused on specifics like

ownership and control, while ignoring the purpose behind the ownership and

control exception: that the “direct” purchaser in cases where it is owned or

controlled by the conspirator will obviously never sue. The Panel’s focus on the

amici state that none of the parties to the ATM Fee case made any financial
contribution to the drafting or filing of this brief. Nor did any of the lawyers
employed by those parties contribute to any work on this brief.

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tree of ownership and control ignores the forest of whether or not a party has the

capacity and incentive to sue.

         An examination of Illinois Brick and its appellate progeny demonstrate that

the Panel’s conclusions are not consistent with the Supreme Court’s purpose in

creating the direct purchaser rule, nor the case law implementing that purpose,

including that of this Circuit. If the Panel’s conclusions stand, they give a roadmap

to antitrust conspirators on how to avoid the antitrust laws of the United States:

two arms-length entities simply enter into a conspiracy to fix the price of a key

component of a finished product that the downstream conspirator then sells to

purchasers such as Retailers. The Panel’s decision creates a large and exploitable

loophole in the direct purchaser rule, which should be corrected.

                                    ARGUMENT

I.       Application of the Direct Purchaser Rule and Its Exceptions
         To best understand the Panel’s failure to abide by the principles enunciated

above, it is useful to first examine the Supreme Court’s decision in Illinois Brick,

the implementation of the rule announced therein by the appellate courts, the two

subsequent Supreme Court cases that commented on that implementation, and the

subsequent appellate case law.




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        A.         Illinois Brick.
        The Supreme Court’s decision in Illinois Brick answered a question that had

been lingering since its decision in Hanover Shoe, Inc. v. United Shoe Machinery

Corp., 392 U.S. 481 (1968): if a defendant could not use as a defense to an

antitrust claim the argument that the true antitrust injury was suffered by indirect

(downstream) purchasers rather than the direct (midstream) purchaser plaintiff,

could an indirect purchaser use the argument offensively and assert claims against

the antitrust conspirator? The Supreme Court’s answer was no.

        The Court gave two reasons. First, the Court indicated that it would not be

fair to allow plaintiffs the same antitrust theory as a weapon that it had denied

defendants as a defense. Illinois Brick, 431 U.S. at 735. The Court then turned to

an examination of the economic challenges of determining which potential plaintiff

downstream from the conspiring defendants was in the best position to recover

damages. The Court concluded that the first potential plaintiff in the distribution

chain, the “direct purchaser,” was the plaintiff best suited to sue for damages. Id.

at 737-38. In doing so, the Court expressed concern that if all the potential

purchasers in the distribution chain had a right to sue, actions would become

unmanageable from both an economic (partitioning of damages) and legal

(multiplicity of parties) standpoint. Id. at 738-45.




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        The Court’s concerns were in part based on the detrimental effect on

antitrust litigation if causes of action were not limited to the direct purchaser. “The

apportionment of the recovery throughout the distribution chain would increase the

overall costs of recovery by injecting extremely complex issues into the case; at the

same time such an apportionment would reduce the benefits to each plaintiff by

dividing the potential recovery among a much larger group….The combination of

increasing the costs and diffusing the benefits of bringing a treble-damages action

could seriously impair this important weapon of antitrust enforcement.” Id. at 745.

        The Court concluded its analysis with an elegant statement on the purpose of

the direct purchaser rule:

        We think the longstanding policy of encouraging vigorous private
        enforcement of the antitrust laws supports our adherence to the
        Hanover Shoe rule, under which direct purchasers are not only spared
        the burden of litigating the intricacies of pass-on but are also
        permitted to recover the full amount of the overcharge. We recognize
        that direct purchasers sometimes may refrain from bringing a treble-
        damages suit for fear of disrupting relations with their suppliers. But
        on balance, and until there are clear directions from Congress to the
        contrary, we conclude that the legislative purpose in creating a group
        of “private attorneys general” to enforce the antitrust laws under § 4 is
        better served by holding direct purchasers to be injured to the full
        extent of the overcharge paid by them than by attempting to apportion
        the overcharge among all that may have absorbed a part of it.

Id. at 745-46 (citations omitted). With that purpose in mind, the Court recognized

that there would be exceptions to the rule it just announced. In fact, the Court

indicated two potential exceptions: cases involving cost-plus contracts (because the


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pass-on concerns would not exist), and cases where the direct purchaser is owned

or controlled by its customer. Id. at 736 & n.16.            It did not preclude other

exceptions, other than to comment that the direct purchaser rule was not a rule

whose application should be determined on a market by market (or industry by

industry) basis. Id. at 744.

        B.         Implementation of Illinois Brick’s Principles.
        The Third Circuit was the first circuit court to implement the holding of

Illinois Brick. In In re Sugar Industry Antitrust Lit. v. Amstar Crop., 579 F.2d 13

(3rd Cir. 1978), the Circuit was faced with a similar fact pattern to the one

confronted by the Panel. Manufacturers of sugar conspired to fix the price of sugar

that was used in food products sold by themselves and others in the conspiracy.

The manufacturers did not fix the price of the food products themselves, but rather

just the price of the upstream ingredient: sugar. Id. at 15-16.

        The defendants argued that Illinois Brick deprived plaintiff of standing

because it was an indirect purchaser of the sugar, which was purchased by

members of the conspiracy for use in the finished food products. The Court

disagreed, finding that the plaintiff, as the first purchaser outside of the conspiracy,

had standing as the direct purchaser. Id. at 18. It expressed concern that a refiner

who illegally set the price of sugar could shield itself from the antitrust laws by

putting the price-fixed product into the finished product. “Illinois Brick did not


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purport to provide any such escape. The opinion was at pains to point out that all

of the overcharges could be collected by direct purchasers, the parties the Court

believed most likely to take action against price-fixers.” Id.

        The opinion further pointed out that there was no need to differentiate

between sales by a division of one defendant and those by a subsidiary of another,

that either was controlled by the parent conspirator and thus could not be expected

to sue its parent as the Supreme Court anticipated in Illinois Brick. Id. at 18-19.

Thus for the Third Circuit, the principles enunciated in Illinois Brick were best

followed by finding the direct purchaser to be the first purchaser in the distribution

chain outside of the conspiracy (i.e., conspirators or entities controlled by a

conspirator cannot be direct purchasers).

        Other circuits followed this basic principle. In Fontana Aviation, Inc. v.

Cessna Aircraft Co., 617 F.2d 478 (7th Cir. 1980), the plaintiff purchased aircraft

from an entity separate from the defendant manufacturer, Cessna. Cessna asserted

that Illinois Brick barred plaintiff from having standing to sue, and the district

court agreed. Id. at 479.

        The Seventh Circuit reversed. It pointed out that while the plaintiff had not

sued the distributor, it alleged that the manufacturing defendant conspired with the

distributor to monopolize the market in question. The Court noted that in effect,

Illinois Brick did not apply to these circumstances as the both the manufacturer and


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the distributor were alleged to be co-conspirators in a common illegal scheme. Id.

at 481. Thus in this circumstance, a court again looked to the first purchaser

outside of the conspiracy to find standing to enforce the antitrust laws.4

        The Sixth Circuit applied these principles in Jewish Hospital Ass’n of

Louisville, Kentucky, Inc. v. Stewart Mechanical Enterprises, Inc., 628 F.2d 971

(1980). The Court recognized both the control and cost-plus exceptions enunciated

in Illinois Brick, as well as the concept enunciated in Fontana Aviation that, given

a vertical conspiracy between the two defendants, Illinois Brick was not applicable.

It found, however, that the pleadings before it did not allege facts sufficient to

sustain any of the exceptions. It distinguished the facts alleged in the case before it

from the facts alleged in In re Sugar while accepting the rationale of the Third

Circuit. Id. at 975.5


4
   Two years later the Supreme Court itself noted that its holding in Illinois Brick
was not meant to be applied blindly in all cases. See Blue Shield of Virginia v.
McCready, 457 U.S. 465, 474-75 (1982) (holding that Illinois Brick’s focus on the
risk of duplicative recoveries engendered by allowing every person along a chain
of distribution to claim damages arising from a single transaction not applicable
where the facts of the antitrust case before it “offers not the slightest possibility of
a duplicative exaction”).
5
   In the immediate aftermath of Illinois Brick the Fifth Circuit also recognized the
concept that in a vertical conspiracy what it called a “co-conspirator exception” to
the Illinois Brick rule could be recognized (though it found it was not adequately
pled in the case before it), though it expressed a belief, contrary to the Seventh
Circuit’s ruling in Fontana Aviation, that the middle-men who were alleged to be
co-conspirators should be named as party defendants so as to avoid potential
overlapping liability. See )In re Beef Indus. Antitrust Lit., 600 F.2d 1148, 160-63

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        In the first decade after Illinois Brick this Circuit applied its principles in two

cases heavily discussed in the Panel decision. In Royal Printing Co. v. Kimberly-

Clark Corp., 621 F.2d 323 (1980), plaintiffs alleged that defendant manufacturers

of paper products sold their products through their wholesale divisions or wholly-

owned subsidiaries, as well as through independent wholesalers6. The plaintiffs

alleged purchases from different divisions or subsidiaries of the defendants,

including paper manufactured by one defendant and sold to the subsidiary of

another defendant, before being re-sold to plaintiffs. Id. at 324.

        This Court held that Illinois Brick does not deprive an indirect purchaser of

standing where the direct purchaser is a division or subsidiary of a co-conspirator.

Id. at 326. Given that there was “little reason for a price-fixer to fear a direct

purchaser’s suit when the direct purchaser is a subsidiary or division of a co-

conspirator,” the Court noted that allowing the plaintiff to sue would not “pose the

same risk of multiple liability held objectionable in Illinois Brick.” Id. The

touchstone of this Court’s analysis was consistent with the other cases cited above:




(5th Cir. 1979. See also Campos v. Ticketmaster Corp., 140 F.3d 1166, 1171 & n.4
(8th Cir. 1998).
6
   As to purchases plaintiffs made from the independent wholesalers, this Court
found plaintiffs to be classic indirect purchasers and have no standing under
Illinois Brick. Royal Printing, 621 F.2d at 327-38. That finding is entirely
consistent with Illinois Brick and the view of Retailers in this brief.

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the direct purchaser rule is designed to promote, not undermine, the effective

enforcement of the antitrust laws.

        This Court further addressed the issue in Arizona v. Shamrock Foods Co.,

729 F.2d 1208 (9th Cir. 1984). This Court held that consumers who purchased

dairy products from grocery stores have standing to sue dairy product producers to

the extent that the plaintiffs allege either (a) a horizontal conspiracy amongst the

grocery stores to fix prices, or (b) a vertical conspiracy between the dairy product

manufacturers and the retail grocery stores to fix the price paid by the consumers.

Id. at 1211-12. Either way, the consumers would be the first party outside of the

conspiracy able and willing to bring suit.7

        C.         Utilicorp and ARC America.
        In 1989 and 1990 the Supreme Court had occasion to comment on and

discuss its holding in Illinois Brick. In California v. ARC America Corp., 490 U.S.


7
    The Panel’s decision argues that this Court restricted its holding with regard to
vertical conspiracies only to those cases where the retail price (the price paid by
the plaintiff) is the price specifically being fixed. As discussed infra, that issue
was not before this Court in Shamrock Foods and the Panel’s attempt to use that
case to support its new restriction on a long-held exception to application of
Illinois Brick’s indirect purchaser rule is unavailing. Other appellate decisions
have cited Shamrock Foods for the proposition that Illinois Brick does not apply to
a vertical conspiracy to fix the retail price paid by the plaintiff, but none have taken
the step that the Panel took in declaring that Illinois Brick denies standing to a
downstream plaintiff if the conspirators conspire to fix the input price in order to
raise the output price. See, e.g., Lowell v. American Cyanamid Co., 177 F.3d 1228,
1229-32 (11th Cir. 1999).

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93 (1989), the Court briefly commented on the concerns that motivated its

adoption of the direct purchaser rule:

        In Illinois Brick, the Court was concerned not merely that direct
        purchasers have sufficient incentive to bring suit under the antitrust
        laws, as the Court of Appeals asserted, but rather that at least some
        party have sufficient incentive to bring suit. Indeed, we implicitly
        recognized as much in noting that indirect purchasers might be
        allowed to bring suit in cases in which it would be easy to prove the
        extent to which the overcharge was passed on to them.

Id. at 102 n.6. Again, the Court reminded lower courts of the rationale behind the

rule: to find the party in the best position to enforce the antitrust rules.

        In Kansas v. Utilicorp United, Inc., 497 U.S. 199 (1990), the Court had

occasion to reinforce both its rationale for the rule, and its previous instruction that

the rule was not to be subject to an industry by industry review. The Court began

its review by reiterating its holding in Illinois Brick that it is the first purchaser

outside of the conspiracy who is the direct purchaser by defining who is an indirect

purchaser: “In the distribution chain, they are not the immediate buyers from the

alleged antitrust violators.” Id. at 207.

        Because the consumers had no argument that they were the first buyer

outside of the conspiracy, they asserted that the industry in question (regulated

public utilities) was not suitable to the direct purchaser rule. The idea that the rule

should be subject to an industry-by-industry standard, however, had been rejected

by the Supreme Court in Illinois Brick and that rejection was reiterated here:


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“Although the rationales of Hanover Shoe and Illinois Brick may not apply with

equal force in all instances, we find it inconsistent with precedent and imprudent in

any event to create an exception for regulated public utilities.” Id.

        In its discussion the Court re-iterated that its interpretation of § 4 “must

promote the vigorous enforcement of the antitrust laws,” noting that if they were

“convinced that indirect suits would secure this goal better in cases involving

utilities, the argument to interpret § 4 to create the exception sought by the

petitioners might be stronger.” Id. at 214. But in the end, it determined that not to

be the case: “Petitioners’ argument does no persuade us that utilities will lack

incentives to sue overcharging suppliers.” Id. The Court concluded by reiterating

that despite the fact that the economic rationales of its previous decisions might not

apply with equal force in all cases, they were correct not to carve out exceptions

for “particular types of markets,” quoting the phrase from Illinois Brick. Id. at 216.

“[W]e remain unconvinced that the exception sought by the petitioners would

promote antitrust enforcement better that the current Illinois Brick rule.” Id.

        Important to this discussion is what the Court did not do in Utilicorp. It did

not reject any of the circuit court interpretations of Illinois Brick discussed above.

It did not declare that any of the existing exceptions had gone too far or should be

questioned. The only exception that it questioned was the one it originally posited




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and rejected in Illinois Brick: varying application of the direct purchaser rule by

industry.

        D.         Appellate Practice After Utilicorp.
        After Utilicorp appellate courts continued to recognize the first purchaser

outside of the conspiracy concept laid out by the Supreme Court. The Fifth Circuit

noted that indirect purchasers “‘are not the immediate buyers from the alleged

antitrust violators,’ but are those who buy goods through an intermediary such as a

retailer or wholesaler.” Free v. Abbott Laboratories, Inc., 176 F.3d 298, 299 n.1

(1999) (quoting Utilicorp, 497 U.S. at 207).         See also Campos v. Ticketmaster

Corp., 140 F.3d 1166, 1169 (8th Cir. 1998) (quoting same).

        In In Re: Linerboard Antitrust Litigation, 305 F.3d 145 (3rd Cir. 2002), the

Third Circuit returned to the issue.          In Linerboard, the plaintiffs purchased

corrugated sheets from defendants that contained a price-fixed component:

linerboard. In the defendants’ view, since the price that was fixed was upstream

and not paid by the plaintiffs, Illinois Brick deprived plaintiffs of standing. The

Third Circuit disagreed. As in Sugar, the Court found that the plaintiffs purchased

from the conspirators themselves: thus Illinois Brick did not apply. Id. at 159-60.

Nothing in Utilicorp cast any doubt that Sugar continued to be good law.

        The Seventh Circuit reinforced its previous understanding of the direct

purchaser rule in) Paper Systems Inc. v. Nippon Paper Indus. Co., Ltd., 281 F.3d


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629 (7th Cir. 2002, and in the process discussed the different labels that courts had

applied to the same concept: the first purchaser outside of the conspiracy is the

direct purchaser of Illinois Brick. In that case, defendants conspired to fix the price

of a specialty paper. Plaintiffs purchased paper in several different ways: (1)

directly from some of the defendant manufacturers, (2) from co-conspirators of the

defendant manufacturers, and (3) from middlemen who were not alleged to be part

of the conspiracy. Id. at 631-32.

        The Court applied Illinois Brick and Utilicorp and found standing for the

plaintiffs in the first two examples, but not in the third, consistent with prior

application of the direct purchaser rule. As the court noted in discussing the

purchases from the middlemen:

        The complaint alleges that Elof and the two Mitsubishi trading firms
        are members of the conspiracy, which makes plaintiffs the first
        purchasers from outside the conspiracy. The right to sue middlemen
        that joined the conspiracy is sometimes referred to as a co-conspirator
        “exception” to Illinois Brick but it would be better to recognize that
        Hanover Shoe and Illinois Brick allocate to the first non-conspirator in
        the distribution chain the right to collect 100% of the damages.

Id. at 631-32 (emphasis in original). See also In re Brand Name Prescription

Drugs Antitrust Litigation, 123 F.3d 599, 604 (7th Cir. 1997) (any indirect

purchaser defense goes by the board where wholesalers participate in

manufacturers’ conspiracy since the wholesalers’ customers are then direct

purchasers from the conspirators). Tellingly, in neither case was the Seventh


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Circuit’s understanding of the application of the direct purchaser rule based on

which price was being fixed.

         This Circuit has also reinforced post-Utilicorp its understanding that the first

purchaser outside of the conspiracy has standing to sue. In Freeman v. San Diego

Ass’n of Realtors, 322 F.3d 1133 (2003), this Circuit reiterated its holding in Royal

Printing that indirect purchasers can sue for damages “if there is no realistic

possibility that the direct purchaser will sue its supplier over the antitrust

violation.” Id. at 1145-46. In this case, this Circuit found a unity of interest

because the defendants at the top of the distribution chain both owned the

middleman and were accused of conspiring with it. Id. at 146. Unlike the Panel’s

decision, however, nowhere in Freeman does this Circuit suggest that Royal

Printing’s “no realistic possibility” exception should be limited solely to

ownership or control. To the contrary:

         The associations engaged in price fixing, and plaintiffs have standing
         to sue them. The associations purposely fixed the support fee they
         charged Sandicor at a supracompetitive level. Sandicor passed on
         some portion of the inflated support fee to agents, who paid higher
         prices for the MLS as a result. This is precisely the type of injury the
         antitrust laws are designed to prevent.

Id. at 1147. This Circuit’s holding in Freeman is completely consistent with the

Third Circuit’s holdings in Sugar and Linerboard: the first entity outside of the

conspiracy has direct standing to sue, regardless of the level at which the price was

fixed.

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        This Circuit also reaffirmed the principles of Royal Printing in Delaware

Valley Surgical Supply Inc. v. Johnson & Johnson, 523 F.3d 1116 (2008), noting

that Royal Printing allowed the suit to proceed against the wholesalers who were

subsidiaries of the defendants, but not against the independent wholesalers where

there was no allegation of control or participation in the conspiracy. Id. at 1121.

        The Delaware Valley Court further noted that it had recently reaffirmed the

direct purchaser rule in Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1049-50 (9th

Cir. 2008), where it held that the banks were middlemen between the merchant

plaintiffs and the defendant credit card companies, and thus it was the banks who

had the right to sue as direct purchasers, not the merchant plaintiffs. Critical to this

Court’s conclusion was the fact that in Kendall, the merchant plaintiffs “failed to

allege any facts showing that the banks were either controlled by or in a conspiracy

with the credit card companies.” Delaware Valley, 523 F.3d at 1122. Again, this

Court, along with the other circuits, looked to find the first entity outside of the

conspiracy to find Illinois Brick’s direct purchaser.

II.       The Panel’s Decision Is Contrary To Thirty-Five Years of Application
          of the Direct Purchaser Rule.
        In ATM Fee the Panel ignores thirty-five years of jurisprudence in finding

that the plaintiffs do not have standing to allege antitrust violations because they

are indirect purchasers under Illinois Brick. The panel makes this finding despite

acknowledging that the plaintiffs are the first entity outside of the conspiracy to

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make any purchases. In fact, the Panel is unequivocal in its assertion that it does

not matter to its determination whether anyone would sue the defendants under its

view of the law. That antitrust violations would go unpunished is, to the Panel’s

view, irrelevant.

        The Panel supports this position by arguing that (1) the plaintiffs are indirect

purchasers because they did not pay the fee that was fixed, despite the fact that the

fixed fee was incorporated into the product and plaintiffs are the first purchasers

outside of the conspiracy, (2) the conspiracy fixed an up-stream price rather than

the price paid by the plaintiffs, and thus the co-conspirator exception does not

apply, and (3) Freeman’s “no realistic possibility of suit” doctrine must be limited

to a situation where the middleman is owned or controlled by the upstream

defendant.

        All three of these propositions are wrong, and will be addressed in turn

below. But it is worth noting that all three collectively violate the Supreme Court’s

admonition in Illinois Brick that a purpose of the direct purchaser rule is to find a

purchaser outside of the conspiracy to uphold the federal antitrust laws. Instead,

accepting the plaintiffs’ allegations as correct, under the Panel’s interpretation of

the rule no entity will uphold the antitrust laws. The Panel finds that a conspirator

is the only entity that can sue as the direct purchaser. The Panel’s decision leaves a

gaping hole in enforcement of the antitrust laws.


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        A.         Plaintiffs Are Not Indirect Purchasers.
        The Panel in short order determines that plaintiffs are indirect purchasers

because they did not pay the illegally-fixed interchange fee, but rather paid the

foreign ATM fee which contained the fixed fee. In a footnote, the Panel stated its

rejection of the Third and Seventh Circuits cases whose holdings reject the Panel’s

understanding of the applicability of the direct purchaser rule.

        As we have seen, the Third Circuit found in Sugar and Linerboard that

fixing the price of an item that was incorporated into the item purchased by the

plaintiff made the plaintiff the direct purchaser of the product, thus Illinois Brick

did not apply. The Seventh Circuit, in Fontana Aviation and Nippon Paper, found

that the first purchaser from outside the conspiracy could bring suit as the direct

purchaser.

        In its footnote, the Panel simply states that these holdings are in violation of

the Supreme Court’s admonition in Utilicorp not to carve out exceptions for

particular types of markets. But that is not what Sugar, Linerboard, Fontana

Aviation, or Nippon Paper do. They are not exceptions based on the economics of

a particular industry, which the Supreme Court disapproved in both Illinois Brick

and Utilicorp. Rather, these decisions simply support the proposition that the

direct purchaser rule has no application until one is outside of the conspiracy.

Sugar and Fontana Aviation were decided just a few years after Illinois Brick, and


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nothing in Utilicorp indicated disapproval with their reasoning as to why the direct

purchaser rule did not apply. En banc review is necessary in this case in order to

overrule the Panel’s rejection of these longstanding principles.

        B.         The Co-Conspirator Exception Applies Regardless of Which Price
                   is Fixed.
        The Panel’s second mistake is its finding that the co-conspirator exception to

the direct purchaser rule only applies when the price that is fixed is the price paid

by the downstream plaintiff. The Panel finds irrelevant that the co-conspirators

fixed the upstream price that was incorporated into the price paid by the plaintiffs.

        The Panel relies on both Shamrock Foods and Visa U.S.A. for this

proposition. While it is true that this Court in both those cases dealt with a fact

pattern in which the fixed price was the price paid by the plaintiff, in neither case

did this Court address, much less hold, that the fixing of an upstream price that was

included in the price paid by the downstream plaintiff was insufficient to confer

standing under the co-conspirator exception.8

        The Panel’s decision, therefore, is the first circuit decision restricting the

exception in this way. It is a blueprint for the would-be antitrust violator. If you


8
  The Panel also cites to Dickson v. Microsoft Corp., 309 F.3d 193 (4th Cir. 2002)
for support. That case stands for the proposition that the co-conspirator exception
should be restricted to “a particular type of conspiracy – price-fixing conspiracies.”
Id. at 215. It did not address the question the Panel sets forth: whether the
exception should be restricted solely to the fixing of the price paid by the plaintiff.

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want to avoid application of the antitrust laws, conspire with a middleman to fix

the price of a component part of something the middleman sells. Under the Panel’s

logic, so long as the middleman is a separate entity not owned or controlled by the

first conspirator, both conspirators are immune from antitrust prosecution by the

private attorneys general contemplated by § 4.

        As both the Panel in its decision and the Seventh Circuit in Nippon Paper

recognize, whether you call it a co-conspirator exception, or you find that the direct

purchaser rule is not applicable in vertical conspiracies, you are really talking

about the same thing. The Panel does not dispute that under its holding there will

be no one with any incentive to enforce the antitrust law with regard to the price

fixing between the two conspirators. When you deny standing to the true direct

purchaser outside of the conspiracy, you effectively immunize the conspiracy from

civil liability. There is simply no question that such a result was not what the

Supreme Court intended in either Illinois Brick or Utilicorp.

        C.         The Panel’s Restriction of Freeman Is Unwarranted.
        The Supreme Court in Illinois Brick was careful not to foreclose the

possibility of exceptions to the direct purchaser rule over and above the cost-plus

or owned or controlled exceptions it enunciated.        As we have discussed, the

Supreme Court wanted a rule that would apply across the board (thus no industry




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by industry analysis) but one that also ensured enforcement by the first purchaser

outside of the conspiracy.

        This Circuit, in Freeman, was true to the Supreme Court’s admonitions by

enunciating the doctrine that “indirect purchasers can sue for damages if there is no

realistic possibility that the direct purchaser will sue its supplier over the antitrust

violation.” Freeman, 322 F.3d at 1145-46. The Panel stated that the doctrine is

limited to the facts of Freeman, where one of the co-conspirators owned the other,

and that it declined to extend the exception to situations where there is no

ownership or control, narrowly defined.

        This Circuit imposed no such limitation in Freeman. The Panel’s opinion is

not a “de-inclination to extend Freeman” but rather an unwarranted restriction on

this Circuit’s previous decisions.      As with the Panel’s other restrictions, it

fundamentally misunderstands and misapplies the purpose of the direct purchaser

rule. Freeman’s recognition that indirect purchasers must be allowed to sue if

there is no realistic possibility that the direct purchaser will sue is a direct

confirmation of Illinois Brick’s admonition that the first purchaser outside of the

conspiracy has standing to bring suit. The Panel’s truncating of this principal to

narrowly defined ownership and control should be rejected.




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                                   CONCLUSION

        Retailers submit that the Panel’s opinion is contrary to the settled law of the

Supreme Court, this Circuit, and other circuits. En banc review should be granted

so this Circuit can ensure that vigorous enforcement of the antitrust laws continues

as the Supreme Court and Ninth Circuit decisions contemplate.


Dated: August 6, 2012

                                            By: /s/ Jonathan J. Ross
                                               Jonathan J. Ross
                                               H. Lee Godfrey
                                               Kenneth S. Marks
                                               SUSMAN GODFREY L.L.P.
                                               1000 Louisiana Street, Suite 5100
                                               Houston, Texas 77002
                                               Telephone: (713) 651-9366
                                               Facsimile: (713) 654-6666
                                               Email: jross@susmangodfrey.com
                                                   lgodfrey@sumangodfrey.com
                                                   kmarks@susmangodfrey.com


                                                David Orozco (220732)
                                                SUSMAN GODFREY L.L.P.
                                                1901 Avenue of the Stars, Suite 950
                                                Los Angeles, California 90067-6029
                                                Telephone: (310) 789-3100
                                                Facsimile: (310) 789-3150
                                                Email:dorozco@susmangodfrey.com




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                                            Parker C. Folse III
                                            Jordan Connors
                                            SUSMAN GODFREY L.L.P.
                                            1201 Third Avenue, Suite 3800
                                            Seattle, Washington 98101-3000
                                            Telephone: (206) 516-3880
                                            Facsimile: (206) 516-3883
                                            Email: pfolse@susmangodfrey.com
                                               jconnors@susmangodfrey.com


                                         William A. Isaacson
                                         Melissa Felder
                                         BOIES, SCHILLER & FLEXNER LLP
                                         5301 Wisconsin Ave. NW, Suite 800
                                         Washington, D.C. 20015
                                         Telephone: (202) 237-2727
                                         Facsimile: (202) 237-6131
                                         Email: wisaacson@bsfllp.com
                                               mfelder@bsfllp.com


                                         Philip J. Iovieno
                                         Anne M. Nardacci
                                         Luke M. Nikas
                                         Christopher V. Fenlon
                                         BOIES, SCHILLER & FLEXNER LLP
                                         10 North Pearl Street, 4th Floor
                                         Albany, NY 12207
                                         Telephone: (518) 434-0600
                                         Facsimile: (518) 434-0665
                                         Email: piovieno@bsfllp.com
                                                    anardacci@bsfllp.com
                                                    lnikas@bsfllp.com
                                                    cfenlon@bsfllp.com




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                                            Roman M. Silberfeld, Bar No. 62783
                                            David Martinez. Bar No. 193183
                                            Lauren E. Wood, Bar No. 280096
                                            ROBINS, KAPLAN, MILLER &
                                            CIRESI L.L.P.
                                            12049 Century Park East, Suite 3400
                                            Los Angeles, CA 90067
                                            Telephone: (310) 552-0130
                                            Facsimile: (310) 229-5800
                                            Email: rmsilberfeld@rkmc.com
                                                 dmartinez@rkmc.com.com
                                                 lewood@rkmc.com.com


                                            Elliot S. Kaplan
                                            K. Craig Wildfang
                                            ROBINS, KAPLAN, MILLER &
                                            CIRESI L.L.P.
                                            800 LaSalle Avenue
                                            2800 LaSalle Plaza
                                            Minneapolis, MN 55402
                                            Telephone: (612) 349-8500
                                            Facsimile (612) 339-4181
                                            Email: eskaplan@rkmc.com
                                                  kcwildfang@rkmc.com

                                         Attorneys for Retailer Amici Curiae




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        CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
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                                      SUSMAN GODFREY, LLP

                                      By: /s/ Jonathan J. Ross
                                             Jonathan J. Ross

                                      Attorneys for Retailer Amici Curiae




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              EXHIBIT B
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                      UNITED STATES COURT OF APPEALS                         MAR 13 2013

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In re: ATM FEE ANTITRUST                          No. 10-17354
LITIGATION,
                                                  D.C. No. 3:04-cv-02676-CRB
                                                  Northern District of California,
PAMELA BRENNAN; et al.,                           San Francisco

               Plaintiffs - Appellants,
                                                  ORDER
  v.

CONCORD EFS, INC.; et al.,

               Defendants - Appellees.



Before: LUCERO, CALLAHAN, and N.R. SMITH, Circuit Judges.




        Judge Callahan and Judge Smith have voted to deny the petition for

rehearing en banc, and Judge Lucero has so recommended.

        The full court was advised of the petition for rehearing en banc and no judge

has requested a vote on whether to rehear the matter en banc. Fed. R. App. P. 35.

        The petition for rehearing en banc is DENIED.




        *
             The Honorable Carlos F. Lucero, Circuit Judge for the U.S. Court of
Appeals for the Tenth Circuit, sitting by designation.
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                          EUROPEAN COMMISSION
                          DG Competition




                                           CASE AT.39437 – TV and computer
                                                              monitor tubes



                                                               (Only the English text is authentic)




                                                          CARTEL PROCEDURE
                                     Council Regulation (EC) 1/2003 and
                                   Commission Regulation (EC) 773/2004


                                               Article 7 Regulation (EC) 1/2003
                                                                         Date: 05/12/2012
This is a provisional non-confidential version. The definitive non-
confidential version will be published as soon as it is available.

This text is made available for information purposes only. A summary of this decision is
published in all EU languages in the Official Journal of the European Union.

Parts of this text have been edited to ensure that confidential information is not disclosed.
Those parts are replaced by a non-confidential summary in square brackets or are shown as
[…] or [confidentiality claim pending].
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                     has attended the highest level CRT meetings (until [date]) and was actively
                     involved in overseeing participation in the cartels that are the subject of this
                     Decision. He also retained […] authority to approve all price and other
                     agreements reached with competitors. His successor [name] also attended at
                     least one high level cartel meeting and reviewed meeting reports.1518
            (743)    In light of the above considerations, the Commission holds Chunghwa Picture
                     Tubes Co., Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. and CPTF
                     Optronics Co., Ltd. jointly and severally liable for the infringement concerning
                     CDT and the infringement concerning CPT for the entire duration of their
                     participation in the respective infringements (see Section 7 below).
     6.2.2.    Samsung
            (744)    The evidence described in Section 4 shows that Samsung SDI Co., Ltd.
                     participated in the infringement concerning CPT directly and via its subsidiaries
                     Samsung SDI Germany GmbH and Samsung SDI (Malaysia) Berhad. The
                     evidence shows that in the CDT cartel Samsung SDI Co., Ltd. participated
                     directly and via its subsidiary Samsung SDI (Malaysia) Sdn., Bhd.
            (745)    SDI reacted on the reference to SDI as the "Samsung Group" […] and stated in
                     particular that "whilst it is true that SDI and Samsung Electronics Co. Ltd. do
                     have a close commercial relationaship, the Commission is wrong when it
                     asserts, in particular at paragraphs 80 and 168 of the SO, that the two
                     undertakings form part of a vertically integrated group".1519 The shareholding
                     of Samsung Electronics in Samsung SDI was below 20% during the cartel
                     periods, without any special rights allowing Samsung Electronics either to
                     determine Samsung SDI's commercial conduct or even to block strategic
                     decisions. In the merger case, Samsung SDI/ Samsung Electronics/ SMD1520, the
                     Commission stated: "While SEC [Samsung Electronics] is its largest
                     shareholder in SDI with a 20.4% shareholding; the parties submit that this
                     stake does not confer any control over SDI. In particular, SEC does not have
                     any veto right over SDI's strategic business decisions."
            (746)    The Commission both holds the companies identified in Recital (744) liable for
                     their direct participation in the respective infringements and holds Samsung SDI
                     Co., Ltd. liable as parent company.
            (747)    During the time period of the infringements Samsung SDI Germany GmbH was
                     wholly owned by Samsung SDI and Samsung SDI (Malaysia) Berhad. was
                     majority owned by Samsung SDI1521. In the case of Samsung SDI Germany


     1518
              […]
     1519
              […]
     1520
              Commission Decision of 23 January 2009 in case M.5414 – Samsung SDI(/ Samsung Electronics/SMD.
     1521
              From 1996 to present, […], Samsung SDI Co., Ltd., and […] have owned [5-10%], [65-70%] and [25-
              30%] respectively of the shares of Samsung SDI (Malaysia) Sdn., Bhd.. […] is a publicly listed
              company in Korea and its most important activities are engineering, construction, trading and
              investment businesses. […] is a subsidiary of […] and focuses on consumer and business electronic
              products. […] is a publicly listed company in Korea manufacturing and selling electronic appliances to
              the world. Samsung SDI has sold display products to SEC as a supplier. SEC owns [15-20%] of
              Samsung SDI Co., Ltd. as of 20 August, 2009; Samsung SDI Co., Ltd. owns [5-10%] of […] as of 25
              August, 2009; […] owns [1-5%] of […] as of 28 August, 2009; and […] may own some shares of […].
              Samsung SDI did not indicate the exact percentage of […] shares owned by […]. According to
              Samsung SDI, those companies are independently managed and legally separate legal entities. […]



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            (1026) Recitals (1014) and (1020) explain the sales that the Commission may use under
                   the 2006 Guidelines on fines, which could normally include indirect sales,
                   which means both Direct EEA Sales Through Transformed Products and
                   Indirect Sales (points (b) and (c) of Recital (1020)). On this issue, it has to be
                   recalled that the Statement of Objections already pointed out that indirect sales
                   could eventually be taken into account in the setting of fines. However, it has to
                   be stressed that, as already stated in Recital (1021) above, the Commission does
                   not, in this case, take into account Indirect Sales as defined in point (c) of
                   Recital (1020). By focusing on the value of Direct EEA Sales as well as the
                   value of Direct EEA Sales Through Transformed Products, the purpose is to
                   consistently include in the 'value of sales' the cartelised products only when they
                   are sold for the first time to a customer which is external to the cartelists'
                   undertakings and is located in the EEA. It must be highlighted that the
                   Commission does not take into account the value of the transformed product as
                   a whole, but only the value of the tubes within it. When the first sale of the
                   cartelised product is made to an independent customer in the EEA, a direct link
                   with the EEA Territory is established. Among the undertakings concerned,
                   Philips, LGE, [Philips/LGE joint venture], Thomson, Toshiba, Panasonic and
                   MTPD had direct EEA sales through transformed products.
            (1027) The arguments put forward by Philips, LGE, Panasonic/MTPD and Toshiba
                   against the inclusion of sales to them as parent companies of their respective
                   joint ventures, or arguments against inclusion of intra-group sales overall,
                   cannot be accepted. It must be noted that the cartels did not consist only of price
                   fixing but concertation on volumes was also a general feature and discussions
                   encompassed the world wide production of the participants (for example
                   discussions on capacities and planned amounts). The output limitation
                   arrangements of the CDT and CPT cartels (including production line status
                   discussions, production volumes planning, sales volumes planning, capacity
                   utilization discussions, decrease of produce arrangements) covered all of the
                   participating companies' production, thereby also impacting intra-group sales. In
                   both the CDT and CPT cartels the participants usually discussed first the supply
                   and demand situation (normally on a global level) including details regarding
                   future behaviour and only thereafter proceeded with price concertation.
                   Moreover, contemporaneous evidence shows that the price increases in CDT
                   were, at times, passed on to the downstream market of computer monitor tubes
                   (see for example Recitals (109) and (234)). Furthermore, cartel meeting minutes
                   often explicitly refer to the fact that intra-group sales are included in the
                   discussions and arrangements1932. There is evidence that when setting the prices,
                   the cartel members agreed to share the captive market, or made sure that the


     1932
              Concerning CDT, see for example the contacts of 28 June 2000 […], 2 August 2000 […], 4 January
              2002 (Recital (199)), 29 April 2003 […], end June 2003 (Recital (220)-(221)), 26 November 2003
              (Recital (207)) and 29 December 2004 (Recital (236)), 25 May 2005. Concerning CPT, see for example
              meetings of 28 June 2000 […], 18 September 2000 […],[confidentiality claim pending] ,[confidentiality
              claim pending] […],[confidentiality claim pending] […], 25 April 2003 […], 14 October 2003
              […],[confidentiality claim pending] […], 28 November 2003 […], 4 December 2003 (Recitals (406)-
              (407)), 26 January 2004 (Recital (422)), 12 February 2004 […], 16 February 2004 […], 7 April 2004
              (Recitals (431)-(432)), 15 March 2005 (Recital (442)), 19 September 2005[…], 26 September 2005
              […]. In addition, […] have emphasized that the same prices have been also charged internally: […]
              presentation in Oral Hearing, 6 September 2012 […];[…] presentation in Oral Hearing, 6 September
              2012 […].



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                     respective subsidiary, joint venture or related company or department would
                     offer lower prices to its parent company or otherwise related company or
                     department than the others or agreed on a price differentical between intra-
                     group or captive customers and other customers (see for example meeting of 4
                     December 2003 in the CPT cartel, Recitals (406)-(407) where a [confidentiality
                     claim pending] price diferential was agreed), or specifically agreed that the
                     price for intra-group sales would be the same as for other major customers (see
                     for example meeting of 12 February 2004, Recital (427)), or when the allocated
                     market share ratios included alsothe intra-group or related customers also (see
                     meeting at the end of June 2003 in the CDT cartel, Recitals (220)-(221)). The
                     price set for those companies was influenced by the cartelised price level. More
                     generally, and as confirmed by the General Court in the Europa Carton AG
                     judgment1933, even if the higher price resulting from a cartel is not always or not
                     in its entirety passed on to intra-group customers, the competitive advantage
                     deriving from this positive discrimination does foreseeably influence
                     competition on the market. The same is applicable to other forms of collusion
                     concerned in this case. The sales of CDTs and CPTs to intra-group customers
                     were part of the cartel discussions in this case and are therefore included in the
                     value of sales.
            (1028) Regarding the intra-group sales there is no distinction between various cartel
                   contacts whether they took place in Asia or in Europe. Toshiba and
                   Panasonic/MTPD argue that intra-group sales should be excluded and,
                   regarding that, give some examples of SML and ASEAN meetings1934. In this
                   respect it is noted that the evidence related to one of the two meetings
                   highlighted by them mentions explicitly the following: "same price to be
                   presented to captive and majors customers"1935. More in general, the fact that
                   some companies intended punctually to exclude intra group sales1936 shows that
                   those sales were in principle part of the discussions and also monitored by the
                   cartelists. Hence, even if occasionally at specific instances intra-group
                   customers would have been excluded, there was no overall exclusion. In any
                   case, the evidence in the file shows rather that explicit arrangements were also
                   concluded regarding intra-group or captive sales concerning both CDT and CPT
                   (see for example Recitals (288), (407), (431), (1027)). Moreover, as explained
                   in Recitals (111), (112), (119), (121), (122), (462) to (470) and (1027), the
                   concertion on volumes and the output restriction encompassed all production
                   and sales of the participants, thereby also including intra-group sales.
                   Consequently, intra-group sales of CRTs – in so far as they ended up in
                   transformed products sold in the EEA – are to be taken into account, just like
                   intra-cartel sales in the EEA.
            (1029) For the calculation of the respective value of sales, the value of the CDTs and
                   CPTs are included in so far as the transformed products are sold by the cartelist
                   in the EEA to unrelated customers. The Commission took into account only the


     1933
              Case T-304/94, Europa Carton, paragraphs 111-131.
     1934
              Panasonic and Toshiba refer to the meeting of 24 July 2003. Toshiba refers also to one Asean meeting
              of 24 February 2004. Toshiba's comments of 29 July 2011 regarding the methodology of setting of
              fines, […].[…] comments of 29 August 2011 regarding the methodology of setting of fines […].
     1935
              Meeting of 12 February 2004 (see Recital (427)).
     1936
              See also […]where the cartel members agree on prices and specifically on that occasion exclude
              internal prices from the agreement.



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                     price actually charged for such tubes as reported by the undertakings concerned.
                     Therefore the value of tubes is taken into account only once, so that no eventual
                     double counting can take place. Moreover, not taking into account those sales
                     would be discriminatory towards non-integrated CRT suppliers (see Recital
                     (1022)). With regard to LGE's argument on discrimination in favour of [CPT
                     producer], it makes reference to the Recital 61 of the factual part of the
                     Statement of Objections, that only presents other producers and includes
                     objective information on the destination of [CPT producer's] CRT sales.
                     Contrary to LGE's interpretation, the reason why [CPT producer] was not an
                     addressee of the Statement of Objections is that there was not sufficient
                     evidence showing that [CPT producer] participated in the infringement.1937
            (1030) Similarly, Samsung SDI's relationship with SEC is different from the
                   relationship between [Philips/LGE joint venture] on the one hand and LGE and
                   Philips on the other hand. It appears from analysis in Section 6, and especially
                   in Recital (745), that the Commission does not have evidence that SEC would
                   have exercised decisive influence over Samsung SDI as it has for the joint
                   venture parents. The legal standard in terms of parental liability is not reached
                   concerning SEC and Samsung SDI and the Commission could therefore not
                   have considered them as the same undertaking.1938 By contrast, Recitals (805)-
                   (916) explain why [Philips/LGE joint venture] and LGE have to be considered
                   as a single entity in the CDT and CPT cartels. In particular, in the case of
                   [Philips/LGE joint venture] the parent companies Philips and LGE each had a
                   50% ownership and their cooperation was needed for strategic decisions, so that
                   they had decisive influence over the joint venture. Hence, the situations being
                   different, the claims for discrimination must be rejected. As concerns LGE's
                   referrence to the the KFTC's list of "Large Corporate Group", in which
                   Samsung SDI and SEC would be considered as part of the same group, it has to
                   be noted that in its decision concerning the same cartel issued n January 2011,
                   the KFTC addressed only Samsung SDI and not SEC.1939



     1937
              Likewise, Philips listed during the Oral Hearing of 6 September 2012 companies in arguing that "many
              CRT manufacturers that participated in the alleged CRT cartels in 2002 – 2006 are not part of the
              proceedings: [CPT producers]" (Philips' presentation in Oral Hearing, 6 September 2012, […]).
              Concerning these companies, it has to be noted that either the Commission did not have sufficient
              evidence that they would have participated in the infringement or there were not anymore companies to
              which liability can be impute (see also Recital (905)).
     1938
              In addition, SDI submitted, in particular, that SEC does not have any decisive influence over decision-
              making within SDI and the company has no specal rights that allow it to determine SDI's commecial
              conduct, including veto righs that entitle it to block strategic decisions […] and that no employees of
              SEC took part in anti-competitive meetings and the company was not aware of the existence of the
              cartels or of SDI's involvement […]. SDI also emphasized that SDI was not aware of SEC's immunity
              application in the LCD case, which could have led it to carry out a competition audit and to uncovered
              the anti-competitive activity in the CRT sector before the on-site inspection and that SDI and SEC have
              notified transactions beween them to antitrust authorities and that none of them has ever considered that
              SDI and SEC were part of the same group and therefore that the transactions should not have been
              notified […].
     1939
              In addition, on that specific issue, SDI submitted that the companies being part of the "Large Corporate
              Group" concept as designed by the KFTC are companies of which part of the shares are held by the
              same individual or entity and are therefore subject to specific scrutiny (in particular, restrictions on
              cross-ownership, intercompany loans and guarantee) which would demonstrate that these companies are
              independent, as it would make no sense to impose such restrictions on companies which would be part
              of the same undertaking. SDI added that the fact that the KFTC reviewed two transactions for which



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            (1031) With regard to the above mentioned KFTC's proceedings, and contrary to
                   Samsung's and Philips' arguments, the Court has ruled that the ne bis in idem
                   principle cannot apply when the procedures conducted and penalties imposed by
                   the Commission on the one hand and by another authority outside the EU on the
                   other clearly did not pursue the same ends. The application of the principle ne
                   bis in idem is subject not only to the infringements and the persons sanctioned
                   being the same, but also to the unity of the legal right being protected1940. In this
                   respect there is a clear difference between the aims of the Commission's
                   proceedings and those initiated by the KFTC, given that any fines imposed by
                   the KFTC would penalise only infringements of Korean domestic competition
                   law. It is therefore of no relevance that the same facts, or the same value of
                   sales, could be examined by two authorities, since a single act can in any case
                   constitute a violation of several legal orders. Moreover, there is no element in
                   the agreement between Korea and the European Community that could impose
                   either a stronger obligation in this respect on the Commission or a limitation in
                   the setting of the fines.
            (1032) Finally, LGE's claim that the Commission introduced new elements after the
                   Statement of Objections regarding which the parties did not have an opportunity
                   to be heard cannot be sustained1941. By letter dated 4 March 2011, a request was
                   made to the addressees of this Decision to provide specific data on their Direct
                   EEA Sales and Direct EEA Sales Through Transformed Products to use as a
                   basis to calculate the value of the undertakings' sales and they were informedof
                   the method of calculating the requested set of figures. Contrary to LGE
                   argument the inclusion of Direct EEA Sales Through Transformed Products
                   does not amount to any new objection, but as explained above (see Recitals
                   (1027)-(1029)) intra-group sales that are covered by the requested sales data
                   were a part of the cartel arrangements. Moreover, contrary to LGE's argument, it
                   was spelled out in the Statement of Objections that, since the creation of the
                   [Philips/LGE joint venture], LGE participated in the CDT and CPT cartels
                   throught that joint venture (Recital 506 of the Statement of Objections). The
                   Statement of Objectons (Recital 576) also stated that the Commission intends to
                   take into consideration and to include in its assessment the fact that the products
                   concerned by this procedure are incorporated into other final products.
            (1033) In their replies to the request for information of 4 March 2011 some parties
                   including LGE1942 made comments regarding the methodology of the setting of
                   the fine resulting from the data requested. One of them has even proposed an
                   alternative calculation method1943. Furthermore, the following undertakings
                   asked for meetings in which they presented their position on the setting of fines:
                   LGE, Toshiba, Panasonic/MTPD, Thomson/ Technicolor, Samsung and Philips.
                   Toshiba provided written submissions on thesetting of fines after the meeting.
                   Moreover, by letter dated 24 August 2011, the addressees of this Decision were


              SDI and SEC applied for approval in 2008 and 2011, repectively, demonstrates that the KFTC considers
              them as two different companies […].
     1940
              Joined Cases T-236/01, T-239/01, T-244/01 to T-246/01, T-251/01 and T-252/01, Tokai Carbon,
              paragraphs 130-155.
     1941
              LGE's reply to the request for information dated 4 March 2011, […] and LGE's letter of 27 July 2011 to
              the Hearing Officer, […].
     1942
              Philips', Panasonic's and LGE's reply to the request for information dated 4 March 2011, […].
     1943
              Panasonic/MTPD's reply to the request for information dated 4 March 2011, […].



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             EXHIBIT D
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                                                                         2010
                                                                         SAMSUNG ELECTRONICS
                                                                         ANNUAL REPORT




                                2010 SAMSUNG ELECTRONICS ANNUAL REPORT
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2. Summary of Signiﬁcant Accounting Policies                             It is, therefore, not possible at this stage to disclose the impact, if           The purchase method of accounting is used to account for                   Any dilution gains and losses arising in investments in associates
                                                                         any, of the revised standard on the related party disclosures.                    the acquisition of subsidiaries by the Company. The cost of an             and joint ventures are recognized in the statement of income.
The Company first adopted the International Financial Reporting                                                                                            acquisition is measured at the fair value of the assets given, equity
Standards as adopted by Republic of Korea (“Korean IFRS”) from           ‘Classification of rights issues’ (amendment to IAS 32). The                      instruments issued and liabilities incurred or assumed at the date of      2.3 Foreign Currency Translation
January 1, 2010 (the date of transition: January 1, 2009). These         amendment applies to annual periods beginning on or after February                exchange. Identiﬁable assets acquired and liabilities and contingent
standards have been consistently applied to 2009 comparative             1, 2010. Earlier application is permitted. The amendment addresses                liabilities assumed in a business combination are measured initially       1) Functional and presentation currency
ﬁnancial information presented.                                          the accounting for rights issues that are denominated in a currency               at their fair values at the acquisition date, irrespective of the extent
                                                                         other than the functional currency of the issuer. Provided certain                of any non-controlling interest. The excess of the cost of acquisition     Items included in the ﬁnancial statements of each of the Company’s
The principles used in the preparation of these ﬁnancial statements      conditions are met, such rights issues are now classified as                      over the fair value of the Company’s share of the identifiable net         entities are measured using the currency of the primary economic
are based on Korean IFRS and interpretations effective as of             equity regardless of the currency in which the exercise price is                  assets acquired is recorded as goodwill. If the cost of acquisition is     environment in which an entity operates (‘the functional currency’).
December 31, 2010 or standards that will be enforceable after            denominated. Previously, these issues had to be accounted for                     less than the fair value of the net assets of the subsidiary acquired,     The consolidated financial statements are presented in Korean
December 31, 2010 but which the Company has decided to early             as derivative liabilities. The amendment applies retrospectively in               the difference is recognized directly in the statement of income. All      Won, which is the SEC’s functional currency.
adopt.                                                                   accordance with IAS 8 ‘Accounting policies, changes in accounting                 inter-company transactions and balances are eliminated as part
                                                                         estimates and errors’. The Company will apply the amended                         of the consolidation process. For each business combination, the           2) Transactions and balances
Principal adjustments made by the Company in restating its               standard from January 1, 2011. It is not expected to have any                     Company shall measure any non-controlling interest in the acquiree
previously published financial statements in accordance with             impact on the Company or the parent entity’s ﬁnancial statements.                 at the non-controlling interest’s proportionate share of the acquiree’s    Foreign currency transactions are translated into the functional
generally accepted accounting principle in the Republic of Korea                                                                                           identiﬁable net assets.                                                    currency using the exchange rates prevailing at the dates of the
(“Korean GAAP”) are described in Note 3.                                 ‘IFRIC 19, ‘Extinguishing ﬁnancial liabilities with equity instruments’.                                                                                     transactions or valuation where items are remeasured. Foreign
                                                                         The interpretation clarifies the accounting by an entity when the                 2) Transactions and non-controlling interests                              exchange gains and losses resulting from the settlement of such
The principal accounting policies applied in the preparation of these    terms of a ﬁnancial liability are renegotiated and result in the entity                                                                                      transactions and from the translation at the exchange rate at the
consolidated ﬁnancial statements are set out below:                      issuing equity instruments to a creditor of the entity to extinguish              Proﬁt or loss and each component of other comprehensive income             end of the reporting period of monetary assets denominated in
                                                                         all or part of the ﬁnancial liability (debt for equity swap). It requires a       are attributed to the owners of the parent and to the non-controlling      foreign currencies are recognized in the statement of income,
2.1 Basis of Presentation                                                gain or loss to be recognized in proﬁt or loss, which is measured as              interests. Total comprehensive income is attributed to the owners of       except when deferred in equity as qualifying cash ﬂow hedges and
                                                                         the difference between the carrying amount of the ﬁnancial liability              the parent and to the non-controlling interests even if this results in    qualifying net investment hedges.
The Company prepares its financial statements in accordance              and the fair value of the equity instruments issued. If the fair value            the non-controlling interests having a deﬁcit balance. And changes
with International Financial Reporting Standards as adopted by           of the equity instruments issued cannot be reliably measured, the                 in a parent's ownership interest in a subsidiary that do not result        Changes in the fair value of monetary securities denominated in
Korea (“Korean IFRS”). These are those standards, subsequent             equity instruments should be measured to reflect the fair value                   in a loss of control are accounted for as equity transactions (i.e.        foreign currency classiﬁed as available-for-sale ﬁnancial assets are
amendments and related interpretations issued by the IASB that           of the financial liability extinguished. The Company will apply the               transactions among owners in their capacity as owners).                    analyzed between translation differences resulting from changes in
have been adopted by Korea.                                              interpretation from January 1, 2011. It is not expected to have any                                                                                          the amortized cost of the security and other changes in the carrying
                                                                         impact on the Company or the parent entity’s ﬁnancial statements.                 3) Associated companies and joint ventures                                 amount of the security. Translation differences related to changes in
First-time adoption of Korean IFRS is set out under Korean IFRS                                                                                                                                                                       amortized cost are recognized in proﬁt or loss, and other changes in
1101, First-time Adoption of International Financial Reporting.          ‘Prepayments of a minimum funding requirement’ (amendments to                     Investments in companies in which the Company does not have                carrying amount are recognized in other comprehensive income.
Korean IFRS 1101 requires application of the same accounting             IFRIC 14). The amendments correct an unintended consequence                       the ability to directly or indirectly control the ﬁnancial and operating
policies to the opening statement of financial position and for          of IFRIC 14, ‘IAS 19-The limit on a defined benefit asset,                        decisions, but does possess the ability to exercise significant            Translation differences on non-monetary financial assets such
the periods when the first comparative financial statements              minimum funding requirements and their interaction’. Without the                  inﬂuence, are accounted for using the equity method. Generally, it         as equities held at fair value through proﬁt or loss are recognized
are disclosed. In addition, mandatory exceptions and optional            amendments, entities are not permitted to recognize as an asset                   is presumed that if at least 20% of the voting stock and potential         in profit or loss as part of the fair value gain or loss. Translation
exemptions which have been applied by the Company are                    some voluntary prepayments for minimum funding contributions.                     voting rights is owned, signiﬁcant inﬂuence exists. The Company’s          differences on non-monetary financial assets such as equities
described in Note 3.                                                     This was not intended when IFRIC 14 was issued, and the                           investment in associates includes goodwill identiﬁed on acquisition,       classiﬁed as available-for-sale are included in other comprehensive
                                                                         amendments correct this. The amendments are effective for annual                  net of any accumulated impairment loss. Investments in companies           income.
There are a number of standards, amendments and interpretations,         periods beginning January 1, 2011. The Company will apply these                   in which the Company has joint control are also accounted for using
which have been issued but not yet come into effect. The Company         amendments for the financial reporting period commencing on                       the equity method.                                                         3) Foreign subsidiaries
does not expect that the adoption of these new standards,                January 1, 2011. It is not expected to have any impact on the
interpretations and amendments will have a material impact on the        Company or the parent entity’s ﬁnancial statements.                               The Company’s share of its associates’ and joint ventures’ post-           The results and ﬁnancial position of all the foreign entities that have
ﬁnancial condition and results of operations.                                                                                                              acquisition profits or losses is recognized in the consolidated            a functional currency different from the presentation currency of the
                                                                         2.2 Consolidation                                                                 statement of income, and its share of post-acquisition movements           Company are translated into the presentation currency as follows:
New standards, amendments and interpretations issued but not                                                                                               in other reserves is recognized in other reserves. The cumulative
effective for the ﬁnancial year beginning 1 January 2010 and not         1) Subsidiaries                                                                   post-acquisition movements are adjusted against the carrying               Assets and liabilities for each statement of financial position
early adopted.                                                                                                                                             amount of the investment. When the Company’s share of losses               presented are translated at the closing rate at the end of the
                                                                         The consolidated financial statements include the accounts of                     in an associate equals or exceeds its interest in the associate,           reporting date.
The Company’s and parent entity’s assessment of the impact of            SEC and its controlled subsidiaries. Control over a subsidiary is                 including any other unsecured receivables, the Company does not
these new standards and interpretations is set out below.                presumed to exist when the Company has the power to govern the                    recognize further losses, unless it has incurred obligations or made       Income and expenses for each statement of income are translated
                                                                         ﬁnancial and operating policies of an entity to obtain beneﬁts from               payments on behalf of the associate or joint venture.                      at average exchange rates, unless this average is not a reasonable
‘Revised IAS 24 (revised), ‘Related party disclosures’. It supersedes    its activities generally accompanying a shareholding of more than                                                                                            approximation of the cumulative effect of the rates prevailing
IAS 24, ‘Related party disclosures’ . IAS 24 (revised) is mandatory      one half of the voting rights. The existence and effects of potential             Unrealized gains and loss on transactions between the Company              on the transaction dates, in which case income and expenses
for periods beginning on or after January 1, 2011. Earlier               voting rights that are currently exercisable or convertible are                   and its associates are eliminated to the extent of the parent              are translated at the rate on the dates of the transactions;
application, in whole or in part, is permitted. The Company will         considered in determining whether the Company controls another                    company’s interest in the associates and joint ventures. Unrealized        and all resulting exchange differences are recognized in other
apply the revised standard from January 1, 2011. When the revised        entity. Subsidiaries are fully consolidated from the date when control            losses are also eliminated unless the transaction provides evidence        comprehensive income and presented as a separate component of
standard is applied, the Company and the parent will need to             is transferred to the Company and de-consolidated from the date                   of an impairment of the asset transferred. Accounting policies             equity.
disclose any transactions between its subsidiaries and its associates.   which control ceases to exist.                                                    of associates have been changed where necessary to ensure
                                                                                                                                                           consistency with the policies adopted by the group.




                                                                                                                                               42                                                                                                   NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS              43
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had directly disposed of the related assets or liabilities. This may mean        Changes in the fair value of monetary securities denominated in foreign           2.6 Financial Assets
that amounts previously recognized in other comprehensive income are             currency classified as available-for-sale financial assets are analyzed                                                                                             Equity instruments of which the fair value cannot be measured reliably
reclassified to profit or loss.                                                  between translation differences resulting from changes in the amortized           A) Classification                                                                 are recognized as cost. Changes in the fair value of monetary securities
                                                                                 cost of the security and other changes in the carrying amount of the              The Company classifies its financial assets in the following categories :         denominated in a foreign currency and classified as available-for-sale
B) Non-controlling interests                                                     security. Translation differences related to changes in amortized cost are        at fair value through profit or loss, loans and receivables, available-for-       are analyzed between translation differences resulting from changes in
Profit or loss and each component of other comprehensive income are              recognized in profit or loss, and other changes in carrying amount are            sale, and held-to-maturity investments. The classification depends on the         amortized cost of the security and other changes in the carrying amount
attributed to the owners of the parent and to the non-controlling interests.     recognized in other comprehensive income.                                         terms of the instruments and purpose for which the financial assets were          of the security. The translation differences on monetary securities are
Total comprehensive income is attributed to the owners of the parent and                                                                                           acquired. Management determines the classification of its financial assets        recognized in profit or loss; translation differences on non-monetary
to the non-controlling interests even if this results in the non-controlling     Translation differences on non-monetary financial assets such as equities         at initial recognition.                                                           securities are recognized in other comprehensive income. Changes in the
interests having a deficit balance. And changes in a parent’s ownership          held at fair value through profit or loss are recognized in profit or loss as                                                                                       fair value of monetary and non-monetary securities classified as available-
interest in a subsidiary that do not result in a loss of control are accounted   part of the fair value gain or loss. Translation differences on non-monetary      (1) Financial assets at fair value through profit or loss                         for-sale are recognized in other comprehensive income.
for as equity transactions (i.e. transactions among owners in their capacity     financial assets such as equities classified as available-for-sale are            Financial assets at fair value through profit or loss are financial assets
as owners).                                                                      included in other comprehensive income.                                           held for trading. A financial asset is classified in this category if acquired    When securities classified as available-for-sale are sold or impaired,
                                                                                                                                                                   principally for the purpose of selling in the short-term. Derivatives are also    the accumulated fair value adjustments previously recognized in equity
C) Associated companies and joint ventures                                       C) Translation of financial statements of foreign subsidiaries                    categorised as held for trading unless they are designated as hedges.             are transferred to the statement of income. Interest on available-for-
Investments in companies in which the Company does not have the ability          The results and financial position of all the foreign entities that have          Assets in this category are classified as current assets.                         sale financial assets calculated using the effective interest method
to directly or indirectly control the financial and operating decisions, but     a functional currency different from the presentation currency of the                                                                                               is recognized in the statement of income as part of finance income.
does possess the ability to exercise significant influence, are accounted        Company are translated into the presentation currency as follows :                (2) Loans and receivables                                                         Dividends on available-for sale equity instruments are recognized in
for using the equity method. Generally, it is presumed that if at least                                                                                            Loans and receivables are non-derivative financial assets with fixed or           the statement of income as part of other operating income when the
20% of the voting stock and potential voting rights is owned, significant        Assets and liabilities for each statement of financial position presented are     determinable payments that are not quoted in an active market. They are           Company’s right to receive payments is established.
influence exists. The Company’s investment in associates includes                translated at the closing rate at the end of the reporting date.                  included in current assets, except for those with maturities greater than 12
goodwill identified on acquisition, net of any accumulated impairment                                                                                              months after the end of the reporting period; such loans and receivables          C) Offsetting financial instruments
loss. Investments in companies in which the Company has joint control            Income and expenses for each statement of income are translated                   are classified as non-current assets.                                             Financial assets and liabilities are offset and the net amount reported in
are also accounted for using the equity method.                                  at average exchange rates, unless this average is not a reasonable                                                                                                  the statement of financial position when there is a legally enforceable right
                                                                                 approximation of the cumulative effect of the rates prevailing on the             (3) Available-for-sale financial assets                                           to offset the recognized amounts and there is an intention to settle on a
The company’s share of post-acquisition profit or loss is recognized in the      transaction dates, in which case income and expenses are translated               Available-for-sale financial assets are non derivatives that are either           net basis, or realize the asset and settle the liability simultaneously.
income statement, and its share of post acquisition movements in other           at the rate on the dates of the transactions; and all resulting exchange          designated in this category or not classified in any of the other categories.
comprehensive income is recognized in other comprehensive income with            differences are recognized in other comprehensive income.                         They are included in non-current assets unless an investment matures or           D) Impairment of financial assets
a corresponding adjustment to the carrying amount of the investment.                                                                                               management intends to dispose of it within 12 months of the end of the
When the Company’s share of losses in an associate equals or exceeds             On consolidation, exchange differences arising from the translation               reporting period.                                                                 (1) Assets carried at amortized cost
its interest in the associate, including any other unsecured receivables,        of the net investment in foreign operations are recognized in other                                                                                                 The Company assesses at the end of each reporting period whether there
the Company does not recognize further losses, unless it has incurred            comprehensive income. When a foreign operation is partially disposed              (4) Held-to-maturity investments                                                  is objective evidence that a financial asset or group of financial assets
obligations or made payments on behalf of the associate or joint venture.        of or sold, the exchange differences that were recorded in equity are                                                                                               is impaired. A financial asset or a group of financial assets is impaired
                                                                                                                                                                   Held-to-maturity investments are non-derivative financial assets with
                                                                                 reclassified in the statement of income during the period when the gain or                                                                                          and impairment loss is incurred only if there is objective evidence of
                                                                                                                                                                   fixed or determinable payments and fixed maturity that an entity has the
Unrealized gains and loss on transactions between the Company and its            loss is recognized in profit or loss.                                                                                                                               impairment as a result of one or more events that occurred after the initial
                                                                                                                                                                   positive intention and ability to hold to maturity. Held-to-maturity financial
associates are eliminated to the extent of the parent company’s interest                                                                                                                                                                             recognition of the asset (a ‘loss event’) and that loss event (or events)
                                                                                                                                                                   assets are included in non-current assets, except for those with maturities
in the associates and joint ventures. Unrealized losses are also eliminated      2.4 Cash Flow Statements                                                          less than 12 months from the end of the reporting period, which are               has an impact on the estimated future cash flows of the financial asset or
unless the transaction provides evidence of an impairment of the asset                                                                                                                                                                               group of financial assets that can be reliably estimated.
                                                                                                                                                                   classified as current assets.
transferred. Accounting policies of associates have been changed                 Cash flow statements are prepared using the indirect method. Foreign
where necessary to ensure consistency with the policies adopted by the           currency cash flows have been translated into Korean Won using the                                                                                                  The amount of the loss is measured as the difference between the asset’s
                                                                                                                                                                   B) Recognition and measurement
Company.                                                                         average rates of exchange for the period under consideration.                                                                                                       carrying amount and the present value of estimated future cash flows
                                                                                                                                                                   Regular purchases and sales of financial assets are recognized on the
                                                                                                                                                                                                                                                     (excluding future credit losses that have not been incurred) discounted at
                                                                                                                                                                   trade date – the date on which the Company commits to purchase
2.3 Foreign Currency Translation                                                 2.5 Cash and Cash Equivalents                                                     or sell the asset. Investments are initially recognized at fair value plus
                                                                                                                                                                                                                                                     the financial asset’s original effective interest rate. The carrying amount
                                                                                                                                                                                                                                                     of the asset is reduced and the amount of the loss is recognized in the
                                                                                                                                                                   transaction costs for all financial assets not carried at fair value through
A) Functional and presentation currency                                          The Company considers all highly liquid investments with less than three                                                                                            consolidated statement of income. As a practical expedient, the Company
                                                                                                                                                                   profit or loss. Financial assets carried at fair value through profit or loss
Items included in the financial statements of each of the Company’s              months maturity from the date of acquisition to be cash equivalents. Bank                                                                                           may measure impairment on the basis of an instrument’s fair value using
                                                                                                                                                                   are initially recognized at fair value, and transaction costs are expensed
entities are measured using the currency of the primary economic                 overdrafts are considered as short-term borrowings in the statement                                                                                                 an observable market price.
                                                                                                                                                                   in the statement of income. Financial assets are derecognized when the
environment in which an entity operates (‘the functional currency’). The         of financial position and treated as financing activities in the cash flow
                                                                                                                                                                   rights to receive cash flows from the investments have expired or have
consolidated financial statements are presented in Korean Won, which is          statements, unless the overdraft is repayable on demand and used for                                                                                                If, in a subsequent period, the amount of the impairment loss decreases
                                                                                                                                                                   been transferred and the Company has transferred substantially all risks
the SEC’s functional and presentation currency.                                  cash management purposes only, in which case the overdraft is treated as                                                                                            and the decrease can be related objectively to an event occurring after
                                                                                                                                                                   and rewards of ownership. Available-for-sale financial assets and financial
                                                                                 cash and cash equivalents in the cash flow statement.                                                                                                               the impairment was recognized (such as an improvement in the debtor’s
                                                                                                                                                                   assets at fair value through profit or loss are subsequently carried at
B) Transactions and balances                                                                                                                                                                                                                         credit rating), the reversal of the previously recognized impairment loss is
                                                                                                                                                                   fair value. Loans and receivables and held-to-maturity investments are
Foreign currency transactions are translated into the functional currency                                                                                                                                                                            recognized in the consolidated statement of income.
                                                                                                                                                                   subsequently carried at amortized cost using the effective interest method.
using the exchange rates prevailing at the dates of the transactions or
valuation where items are remeasured. Foreign exchange gains and losses
                                                                                                                                                                   Gains or losses arising from changes in the fair value of the financial
resulting from the settlement of such transactions and from the translation
                                                                                                                                                                   assets at fair value through profit or loss category are presented in the
at the exchange rate at the end of the reporting period of monetary
                                                                                                                                                                   statement of income in the period in which they arise. Dividend income
assets denominated in foreign currencies are recognized in the statement
                                                                                                                                                                   from financial assets at fair value through profit or loss is recognized in the
of income, except when deferred in other comprehensive income as
                                                                                                                                                                   statement of income when the Company’s right to receive payments is
qualifying cash flow hedges and qualifying net investment hedges.
                                                                                                                                                                   established.
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K-IFRS 1113, ‘Fair value measurement’                                                      rights that are exercisable or convertible at the end of the reporting period are          (C) Disposal of a subsidiary                                                               (F) Joint ventures
The standard aims to improve consistency and reduce complexity by providing                considered in determining whether the Company controls another entity. Moreover,           When the Company ceases to have control, any retained interest in the entity is            Joint ventures are entities in which the Company holds joint control with other
a precise definition of fair value and a single source of fair value measurement           K-IFRS 1027 requires the evaluation of whether the Company holds control over the          re-measured to its fair value at the date when control is lost, with the change in         participants based on an agreed upon contract. Investments in joint ventures
and disclosure requirements for use across Financial Reporting Standards. The              financial and operating policies of a subsidiary where the Company’s shareholding          carrying amount recognized in profit or loss. The fair value is the initial carrying       are initially recognized at cost and then accounted for using the equity method.
requirements, which are largely aligned between IFRS and US GAAP, do not extend            is less than or equal to 50%. Control is presumed to exist when the Company is             amount for the purposes of subsequently accounting for the retained interest as            The Company’s investment in joint ventures includes goodwill identified upon
the use of fair value accounting but provide guidance on how it should be applied          considered to have control over the financial and operating policies of a subsidiary       an associate, joint venture or financial asset. In addition, any amounts previously        acquisition, net of any accumulated impairment loss. If the Company purchases
where its use is already required or permitted by other standards within IFRS or US        through its ownership relative to those of other shareholders. Subsidiaries are fully      recognized in other comprehensive income in respect of that entity are accounted           assets from joint ventures, the Company does not recognize its share of post-
GAAP. The Company is still in the process of assessing the impact of the amendment         consolidated from the date when control is transferred to the Company and de-              for as if the Company had directly disposed of the related assets or liabilities. This     acquisition profit until it disposes of the acquired assets to a third party. The
on the consolidated financial statements and intends to adopt K-IFRS 1113 no later         consolidated from the date which control ceases to exist.                                  may mean that amounts previously recognized in other comprehensive income are              Company recognizes losses from these transactions where such losses provide
than the accounting period beginning January 1, 2013.                                                                                                                                 reclassified to profit or loss.                                                            evidence of an impairment of the assets or decrease of net realizable value.
                                                                                           The purchase method of accounting is used to account for the acquisition of
K-IFRS 1110, ‘Consolidated financial statements’                                           subsidiaries by the Company. The cost of an acquisition is measured at the fair value      (D) Non-controlling interests
The standard explains the principle of control which is the basis for determining          of the assets given, equity instruments issued and liabilities incurred or assumed         Profit or loss and each component of other comprehensive income are attributed to          2.4 Foreign Currency Translation
which entities are consolidated in the consolidated financial statements. An investor      at the date of exchange. Identifiable assets acquired and liabilities and contingent       the owners of the parent and to the non-controlling interests. Total comprehensive
controls an investee when it is exposed, or has rights, to variable returns from its       liabilities assumed in a business combination are measured initially at their fair         income is attributed to the owners of the parent and to the noncontrolling interests       (A) Functional and presentation currency
involvement with the investee and has the ability to affect those returns through its      values at the acquisition date, irrespective of the extent of any non-controlling          even if this results in the non-controlling interests having a deficit balance. Any        Items included in the financial statements of each of the Company’s entities are
power over the investee. The standard sets out further guidance where it is difficult      interest. The excess of the cost of acquisition over the fair value of the Company’s       changes in a parent's ownership interest in a subsidiary that do not result in a loss of   measured using the currency of the primary economic environment in which each
to determine control. The standard will be effective for the fiscal year beginning         share of the identifiable net assets acquired is recorded as goodwill. If the cost of      control are accounted for as equity transactions (i.e. transactions among owners in        entity operates (‘the functional currency’). The consolidated financial statements
January 1, 2013. The Company is in the process of assessing the impact of the              acquisition is less than the fair value of the net assets of the subsidiary acquired,      their capacity as owners).                                                                 are presented in Korean won, which is SEC’s functional and presentation currency.
standard on the consolidated financial statements.                                         the difference is recognized directly in the statement of income. For each business
                                                                                           combination, the Company measures any non-controlling interest in the acquiree             (E) Associated companies                                                                   (B) Transactions and balances
K-IFRS 1111, ‘Joint arrangements Introduction’                                             at the non-controlling interest’s proportionate share of the acquiree’s identifiable       Investments in companies in which the Company does not have the ability to                 Foreign currency transactions are translated into the functional currency using the
The standard reflects the essence of joint arrangements and focuses on the rights          net assets.                                                                                directly or indirectly control the financial and operating decisions, but does             exchange rates prevailing at the dates of the transactions or valuation where items
and obligations of the parties to the joint arrangements rather than on the legal                                                                                                     possess the ability to exercise significant influence, are accounted for using the         are remeasured. Foreign exchange gains and losses resulting from the settlement
forms of the arrangements. The standard classifies joint arrangements into joint           In a business combination achieved in stages, the acquisition date fair value of the       equity method. Generally, it is presumed that if at least 20% of the voting stock          of such transactions and from the translation at the exchange rate at the end of
operations and joint ventures. A joint operation is a joint arrangement whereby the        acquirer’s previously held equity interest in the acquiree is remeasured to fair value     and potential voting rights is owned, significant influence exists. The Company’s          the reporting period of monetary assets denominated in foreign currencies are
parties that have joint control of the arrangement (i.e. joint operators) have rights      at the acquisition date through profit or loss.                                            investment in associates includes goodwill identified upon acquisition, net of any         recognized as realized foreign exchange gains and losses under finance income and
to the assets, and obligations for the liabilities, relating to the arrangement. A joint                                                                                              accumulated impairment loss.                                                               expense in the statement of income, except when deferred in other comprehensive
operator accounts for the assets, liabilities, revenues and expenses in relation to        The Company recognizes the acquisition-date fair value of contingent                                                                                                                  income as qualifying cash flow hedges and qualifying net investment hedges.
its interest in the arrangement. A joint venture is a joint arrangement whereby the        consideration. Changes in the fair value of contingent consideration classified as an      If the ownership in associated companies decreases to the extent that the Company
parties that have joint control of the arrangement (i.e. joint venturers) have rights      asset or a liability are recognized in profit or loss in accordance with K-IFRS 1039,      loses significant influence, the Company will reclassify the proportionate amount          Changes in the fair value of monetary securities denominated in foreign currency
to the net assets of the arrangement. Joint venturers account for the investment           ‘Financial Instruments: Recognition and Measurement’. Contingent consideration             previously recognized in other comprehensive income to profit or loss.                     classified as available-for-sale financial assets are analyzed between translation
using the equity method. The standard will be effective for the fiscal year beginning      classified as equity shall not be remeasured and its subsequent settlement shall be                                                                                                   differences resulting from changes in the amortized cost of the security and other
January 1, 2013. The Company is in the process of assessing the impact of the              accounted for within equity.                                                               The Company’s share of post-acquisition profit or loss is recognized in the income         changes in the carrying amount of the security. Translation differences related to
standard on the consolidated financial statements.                                                                                                                                    statement, and its share of post acquisition movements in other comprehensive              changes in amortized cost are recognized in profit or loss, and other changes in
                                                                                           The Company recognizes goodwill as of the acquisition date measured as the                 income is recognized in other comprehensive income with a corresponding                    carrying amount are recognized in other comprehensive income.
K-IFRS 1111, ‘Joint arrangements Introduction’                                             excess of (1) the aggregate of 1) the consideration transferred, 2) the amount of          adjustment to the carrying amount of the investment. When the Company’s share
The standard provides disclosure requirements for all types of equity investments          any non-controlling interest in the acquiree and 3) the acquisition-date fair value        of losses in an associate equals or exceeds its interest in the associate, including       Translation differences on non-monetary financial assets and liabilities are
in other entities including subsidiaries, joint arrangements, associates, consolidated     of the Company’s previously held equity interest in the acquiree over (2) the net          any other unsecured receivables, the Company does not recognize further losses,            recognized in profit or loss as part of the fair value gain or loss. Translation
structured entities and unconsolidated structured entities. The standard will be           identifiable assets acquired. If the aggregate amount in (1) is less than the fair value   unless it has incurred obligations or made payments on behalf of the associate or          differences on non-monetary financial assets such as equity instruments held at
effective for the fiscal year beginning January 1, 2013. The Company is in the             of the acquiree’s net assets (2), the difference is recognized in profit or loss.          joint venture.                                                                             fair value through profit or loss are recognized in profit or loss as part of the fair
process of assessing the impact of the standard on the consolidated financial                                                                                                                                                                                                    value gain or loss. Translation differences on non-monetary financial assets, such
statements.                                                                                Inter-company transactions, balances, income, expenses and unrealized gains                The Company assesses at the end of each reporting period whether there is any              as equities classified as available-for-sales are included in other comprehensive
                                                                                           on inter-company transactions are eliminated. Unrealized losses are eliminated             objective evidence that the investments in associates are impaired. If any such            income.
                                                                                           upon assessing the impairment of the transferred assets. Accounting policies of            evidence exists, the Company will recognize impairment loss as the difference
2.3 Consolidation                                                                          subsidiaries have been changed where necessary to ensure consistency with the              between the recoverable amount and the carrying amount of investments in                   (C) Translation into presentation currency
                                                                                           policies adopted by the Company.                                                           associates. The impairment loss will be separately disclosed in the statement of           The results and financial position of all the foreign entities that have a functional
The Company prepares annual consolidated financial statements in accordance                                                                                                           income as an impairment loss on associates.                                                currency different from the presentation currency of the Company are translated
with K-IFRS 1027, Consolidated and Separate Financial Statements.                          (B) Changes in the ownership of a subsidiary without gain or loss of control                                                                                                          into the presentation currency as follows:
                                                                                           Transactions with non-controlling interests that do not result in loss of control are      Unrealized gains on transactions between the Company and its associates are
(A) Subsidiaries                                                                           accounted for as equity. transactions – that is, as transactions with the owners in        eliminated to the extent of the parent company’s interest in the associates.               Assets and liabilities are translated at the closing rate at the end of the reporting
The consolidated financial statements include the accounts of SEC and its                  their capacity as owners. The difference between fair value of any consideration paid      Unrealized losses are also eliminated unless the transaction provides evidence of          date.
controlled subsidiaries. Control over a subsidiary is presumed to exist when the           and the relevant share acquired of the carrying value of net assets of the subsidiary      an impairment of the asset transferred. Accounting policies of associates have been
Company has the power to govern the financial and operating policies of an entity          is recorded in equity. Gains or losses on disposals to non-controlling interests are       changed where necessary to ensure consistency with the policies adopted by the             Income and expenses for each statement of income are translated at average
to obtain benefits from its activities generally accompanying a shareholding of            also recorded in equity.                                                                   Company. Decrease in the interest in associates is recognized in profit or loss where      exchange rates, unless this average is not a reasonable approximation of the
more than one half of the voting rights. The existence and effects of potential voting                                                                                                the Company maintains significant influence over associates although its share has         cumulative effect of the rates prevailing on the transaction dates, in which case
                                                                                                                                                                                      been decreased.


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